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19                                  UNITED STATES DISTRICT COURT

20                             NORTHERN DISTRICT OF CALIFORNIA

21                                     SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA

23                     Plaintiff,                      NOTICE OF APPEARANCE BY
                                                       DANIEL P. MUINO
24          v.

25   GOOGLE, INC.

26                     Defendant.

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     NOTICE OF APPEARANCE BY DANIEL P. MUINO
     CASE NO. CV10-03561 LB
     pa-1451177
       Case 3:10-cv-03561-WHA Document 92 Filed 03/08/11 Page 2 of 2



 1          TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE of the appearance of attorney Daniel P. Muino

 3   (dmuino@mofo.com) of the law firm of Morrison & Foerster LLP, 755 Page Mill Road,

 4   Palo Alto, CA 94304, as counsel of record in this action for Plaintiff Oracle America, Inc.

 5   Dated: March 8, 2010                         By:     /s/ Daniel P. Muino ____________
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